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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 SARAH WALKER,
                                                Case No. 1:22-cv-03312-APM
                        Plaintiff,

        v.

 NEW VENTURE FUND, et. al.,

                        Defendants.



        DEFENDANT SECURE DEMOCRACY’S ANSWER AND DEFENSES TO
                   PLAINTIFF’S AMENDED COMPLAINT

       Defendant Secure Democracy (“Defendant”), by way of answer to Plaintiff Sarah Walker’s

(“Plaintiff”) Complaint, states as follows:

       In response to the enumeration of claims before Paragraph 1 of the Amended Complaint,

Defendant admits that Plaintiff attempts to allege a hostile work environment and retaliation under

the District of Columbia Human Rights Act (“DCHRA”) against Defendant. The remaining

allegations before Paragraph 1 of the Complaint pertain to claims that have already been dismissed,

and therefore, no responsive pleading is required. To the extent a response is required, Defendant

denies the claims and denies explicitly that it discriminated or retaliated against Plaintiff or

engaged in any form of illegal, unlawful, or prohibited conduct.

                                     NATURE OF THE ACTION

       1.      Paragraph 1 of the Amended Complaint does not contain factual allegations relating

to this Defendant to which a response is required. In addition, the allegations in Paragraph 1 relate

to a claim or claims that have been dismissed, which require no response.
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       2.      Paragraph 2 of the Amended Complaint does not contain factual allegations relating

to this Defendant to which a response is required. In addition, the allegations in Paragraph 2 relate

to a claim or claims that have been dismissed, which require no response.

       3.      Paragraph 3 of the Amended Complaint does not contain factual allegations relating

to this Defendant to which a response is required.

       4.      Paragraph 4 of the Amended Complaint, in part, calls for a legal conclusion to

which no response is required. Defendant denies all other allegations in Paragraph 4 other than to

admit that it is exempt from taxation as a social advocacy organization under section 501(c)(4) of

the Internal Revenue Code and that part of Defendant’s mission was to protect and secure fair

elections.

       5.      Defendant denies the allegations in Paragraph 5 of the Amended Complaint except

to admit that Defendant was established in 2018 and that before its dissolution, Heather Smith,

who is a white female, was the Chair of Defendant’s Board of Directors.

       6.      Paragraph 6 of the Amended Complaint does not contain factual allegations relating

to this Defendant to which a response is required.

       7.      The allegations in the first sentence of Paragraph 7 of the Amended Complaint have

been dismissed, in part, and require no response. Defendant denies the allegations of the first

sentence of Paragraph 7, other than to admit that Plaintiff is an African American woman.

Defendant denies the allegations of Paragraph 7, other than to admit that Plaintiff began her

employment in September 2019 as an Associate Director and was continually promoted

throughout her employment with Defendant.

       8.      Paragraph 8 of the Amended Complaint does not contain factual allegations relating

to this Defendant to which a response is required.




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       9.       Paragraph 9 of the Amended Complaint does not contain factual allegations relating

to this Defendant to which a response is required. To the extent a response is required, Defendant

denies the allegations in Paragraph 9 of the Amended Complaint.

       10.      Defendant denies the allegations in Paragraph 10 of the Amended Complaint.

       11.      The allegations in Paragraph 11 relate, in part, to a claim or claims that have been

dismissed and require no response. Defendant denies all remaining allegations in Paragraph 11 of

the Amended Complaint.

       12.      Defendant denies the allegations in Paragraph 12 of the Amended Complaint.

                                 JURISDICTION AND VENUE

       13.      Paragraph 13 of the Amended Complaint calls for a legal conclusion to which no

response is required. In addition, the allegations in Paragraph 13 relate to a claim that has been

dismissed, which requires no response.

       14.      Paragraph 14 of the Amended Complaint calls for a legal conclusion to which no

response is required.

       15.      Paragraph 15 of the Amended Complaint calls for a legal conclusion to which no

response is required.

       16.      Paragraph 16 of the Amended Complaint calls for a legal conclusion to which no

response is required.

       17.      The allegations in Paragraph 17 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       18.      Paragraph 18 of the Amended Complaint calls for a legal conclusion to which no

response is required. To the extent a response is required, Defendant denies the allegations in

Paragraph 18.




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                                            PARTIES

       19.     Defendant lacks sufficient information to admit or deny the allegations set forth in

the first sentence of Paragraph 19 of the Amended Complaint. The allegations in the second

sentence of Paragraph 19 have been dismissed, in part, and require no response. Defendant admits

that the Plaintiff is an African American female. The last sentence of Paragraph 19 calls for a legal

conclusion to which no response is required. To the extent a response is required, Defendant

denies the allegations in the last sentence of Paragraph 19.

       20.     Paragraph 20 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required.

       21.     Defendant admits the first sentence of Paragraph 21 of the Amended Complaint.

Defendant denies any allegation inconsistent with the document or documents referenced in the

second and third sentences of Paragraph 21 and refers to the true and accurate copy of said

document or documents.

       22.     The first sentence of Paragraph 22 of the Amended Complaint does not contain

factual allegations relating to this Defendant to which a response is required. Defendant denies any

allegation inconsistent with the document or documents referenced in the second sentence of

Paragraph 22 and refers to the true and accurate copy of said document or documents.

       23.     Paragraph 23 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. In addition, in part, the allegations in

Paragraph 23 relate to a claim or claims that have been dismissed, which require no response. To

the extent a response is required, Defendant denies the allegations in Paragraph 23.

                                  FACTUAL ALLEGATIONS

   A. As To “Defendants Paid Minority Female Employees Less”




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       24.     Defendant denies the allegations in the first sentence of Paragraph 24 of the

Amended Complaint. In addition, the allegations in Paragraph 24 relate to a claim or claims that

have been dismissed, which require no response. To the extent a response is required, Defendant

denies the allegations in Paragraph 24.

       25.     The allegations in Paragraph 25 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 25, other than to admit that Ms. Lewis and Ms.

Tarazi are both white females.

       26.     Defendant admits the allegations in the first sentence of Paragraph 26 of the

Amended Complaint. The allegations in the second and third sentences of Paragraph 26 do not

contain factual allegations to which a response can be provided. Defendant denies the remaining

allegations set in Paragraph 26, except to admit that Plaintiff was interviewed by Ms. Lewis and

offered a position.

       27.     Paragraph 27 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. In addition, the allegations in Paragraph

27 relate to a claim or claims that have been dismissed, which require no response. To the extent

a response is required, Defendant denies the allegations in the second sentence of Paragraph 27.

       28.     The allegations in Paragraph 28 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 28.

       29.     Paragraph 29 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. In addition, the allegations in Paragraph




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29 relate to a claim or claims that have been dismissed, which require no response. To the extent

a response is required, Defendant denies the allegations in Paragraph 29.

       30.     The allegations in Paragraph 30 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 30.

       31.     The allegations in Paragraph 31 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 31.

       32.     The allegations in Paragraph 32 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 32.

       33.     The allegations in Paragraph 33 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 33.

       34.     The allegations in Paragraph 34 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 34.

       35.     The allegations in Paragraph 35 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 35.

       36.     The allegations in Paragraph 36 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 36.




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       37.     Defendant is without information sufficient to admit or deny the allegations in

Paragraph 37 of the Amended Complaint. To the extent a response is required, Defendant denies

the allegations in Paragraph 37.

       38.     Defendant denies the allegations in Paragraph 38 of the Amended Complaint.

   B. As To “Defendants Denied Minority Employees Equal Access to Resources”

       39.     Defendant admits the allegations in Paragraph 39 of the Amended Complaint.

       40.     Defendant denies the allegations in Paragraph 40.

       41.     The allegations in Paragraph 41 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 41.

       42.     Defendant denies the allegations in Paragraph 42 of the Amended Complaint.

       43.     Defendant denies the allegations in Paragraph 43 of the Amended Complaint.

   C. As To: “Defendants Denied Minority Employees Equal Access to Benefits”

       44.     Defendant denies the allegations in Paragraph 44 of the Amended Complaint.

       45.     Defendant denies the allegations in Paragraph 45 of the Amended Complaint.

       46.     The allegations in Paragraph 46 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 46.

   D. As To: “Defendants Discriminated Against Plaintiff Because of Her Disability”

       47.     The allegations in Paragraph 47 of the Amended Complaint relate to a claim or

claims that have been dismissed and call for a legal conclusion, such that no response is required.

       48.     The allegations in Paragraph 47 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.




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       49.    The allegations in Paragraph 49 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       50.    The allegations in Paragraph 50 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 50.

       51.    The allegations in Paragraph 51 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 51.

       52.    The allegations in Paragraph 52 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 52.

       53.    The allegations in Paragraph 53 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 53.

       54.    The allegations in Paragraph 54 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 54.

   E. As To: “Defendants Created a Hostile Work Environment”

       55.    Defendant denies the allegations in Paragraph 55 of the Amended Complaint.

       56.    Defendant denies the allegations in Paragraph 56 of the Amended Complaint.

       57.    Defendant denies the allegations in Paragraph 57 of the Amended Complaint.

       58.    Defendant denies the allegations in Paragraph 58 of the Amended Complaint.

       59.    Defendant denies the allegations in Paragraph 59 of the Amended Complaint.




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       60.     Defendant denies the allegations in Paragraph 60 of the Amended Complaint.

       61.     Defendant denies the allegations in Paragraph 61 of the Amended Complaint.

   F. As To: “Plaintiff Opposed Defendants’ Discrimination and Acted as a
      Whistleblower”

       62.     The allegations in Paragraph 62 of the Amended Complaint, in part, relate to a

claim or claims that have been dismissed, which require no response. Defendant denies any

allegation that is inconsistent with the document or documents referenced in Paragraph 62 and

refers to the true and accurate copy of said document or documents. To the extent further response

is required, Defendant denies the allegations in Paragraph 62.

       63.     The allegations in Paragraph 63 relate to a claim or claims that have been dismissed,

which require no response.

       64.     Paragraph 64 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. To the extent a response is required,

Defendant denies the allegations in Paragraph 64.

   G. As To: “Plaintiff Opposed Defendants’ Violations of the Internal Revenue Laws and
      Acted as a Whistleblower”

       65.     The allegations in Paragraph 65 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 65.

       66.     The allegations in Paragraph 66 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 66.




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       67.    The allegations in Paragraph 67 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 67.

       68.    The allegations in Paragraph 68 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 68.

       69.    The allegations in Paragraph 69 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 69.

       70.    The allegations in Paragraph 70 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 70.

       71.    The allegations in Paragraph 71 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 71.

       72.    The allegations in Paragraph 72 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 72.

   H. As To: “Retaliation”

       73.    The allegations in Paragraph 73 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       74.    The allegations in Paragraph 74 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.




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       75.      The allegations in Paragraph 75 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       76.      The allegations in Paragraph 76 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       77.      The allegations in Paragraph 77 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       78.      The allegations in Paragraph 78 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 78.

       79.      Defendant denies the allegations in the first sentence of Paragraph 79 of the

Amended Complaint. The second sentence of Paragraph 79 does not contain factual allegations

relating to this Defendant to which a response is required. To the extent a response is required,

Defendant denies the allegations in Paragraph 79.

       80.      Defendant denies the allegations in Paragraph 80 of the Amended Complaint.

       81.      The first sentence of Paragraph 81 does not contain factual allegations relating to

this Defendant to which a response is required. Defendant denies the remaining allegations in

Paragraph 81.

       82.      Defendant denies any allegation that is inconsistent with the document or

documents referenced in Paragraph 82 of the Amended Complaint and refers to the true and

accurate copy of said document or documents.

       83.      Defendant denies the allegations set forth in the first sentence of paragraph 83 of

the Amended Complaint. The second sentence of Paragraph 83 improperly and incorrectly

assumes as a central premise that Plaintiff was terminated from her employment, which is not the




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case and is denied. Defendant further denies that Plaintiff was not provided any information about

her last day at SD.

       84.     Defendant denies the allegations in Paragraph 84.

       85.     Paragraph 85 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. Defendant denies any allegation

inconsistent with the document or documents referenced in Paragraph 85 and refers to the true and

accurate copy of said document or documents. To the extent a further response is required,

Defendant denies the allegations in Paragraph 85.

       86.     Paragraph 86 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. In addition, the allegations in Paragraph

86 relate to a claim or claims that have been dismissed, which require no response. To the extent

a response is required, Defendant denies the allegations in Paragraph 86.

       87.     Defendant denies the allegations in Paragraph 87 of the Amended Complaint.

       88.     Defendant denies any allegation inconsistent with the document or documents

referenced in the first two sentences of Paragraph 88 and refers to the true and accurate copy of

said document or documents. The third sentence of Paragraph 88 does not contain factual

allegations relating to this Defendant, requiring a response. To the extent a response is required,

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

allegations.

       89.     Paragraph 89 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. To the extent a response is required,

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

allegations.




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   I. As To: “Damages Suffered”

       90.     Defendant denies the allegations in Paragraph 90 of the Amended Complaint.

       91.     Defendant denies the allegations in Paragraph 91 of the Amended Complaint.

       92.     Defendant denies the allegations in Paragraph 92 of the Amended Complaint.

       93.     Defendant denies the allegations in Paragraph 93 of the Amended Complaint.

       94.     Defendant denies the allegations in Paragraph 94 of the Amended Complaint.

       95.     Defendant denies the allegations in Paragraph 95 of the Amended Complaint.

       96.     Defendant denies the allegations in Paragraph 96 of the Amended Complaint.

       97.     Defendant denies the allegations in Paragraph 97 of the Amended Complaint.

       98.     Defendant denies the allegations in Paragraph 98 of the Amended Complaint.

                                             CLAIMS

                                 FIRST CAUSE OF ACTION
                                 Retaliation Prohibited by TFA

       99.     Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       100.    No response is required as the “First Cause of Action” has been dismissed.

       101.    No response is required as the “First Cause of Action” has been dismissed.

       102.    No response is required as the “First Cause of Action” has been dismissed.

       103.    No response is required as the “First Cause of Action” has been dismissed.

       104.    No response is required as the “First Cause of Action” has been dismissed.

       105.    No response is required as the “First Cause of Action” has been dismissed.

       106.    No response is required as the “First Cause of Action” has been dismissed.

       107.    No response is required as the “First Cause of Action” has been dismissed.

                                SECOND CAUSE OF ACTION



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               Discrimination on the Basis of Race in Violation of the DCHRA

       108.    Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       109.    No response is required as the “Second Cause of Action” has been dismissed.

       110.    No response is required as the “Second Cause of Action” has been dismissed.

       111.    No response is required as the “Second Cause of Action” has been dismissed.

       112.    No response is required as the “Second Cause of Action” has been dismissed.

       113.    No response is required as the “Second Cause of Action” has been dismissed.

       114.    No response is required as the “Second Cause of Action” has been dismissed.

       115.    No response is required as the “Second Cause of Action” has been dismissed.

       116.    No response is required as the “Second Cause of Action” has been dismissed.

       117.    No response is required as the “Second Cause of Action” has been dismissed.

       118.    No response is required as the “Second Cause of Action” has been dismissed.

       119.    No response is required as the “Second Cause of Action” has been dismissed.

       120.    No response is required as the “Second Cause of Action” has been dismissed.

                               THIRD CAUSE OF ACTION
                Discrimination on the Basis of Sex in Violation of the DCHRA

       121.    Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       122.    No response is required as the “Third Cause of Action” has been dismissed.

       123.    No response is required as the “Third Cause of Action” has been dismissed.

       124.    No response is required as the “Third Cause of Action” has been dismissed.

       125.    No response is required as the “Third Cause of Action” has been dismissed.

       126.    No response is required as the “Third Cause of Action” has been dismissed.



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       127.     No response is required as the “Third Cause of Action” has been dismissed.

       128.     No response is required as the “Third Cause of Action” has been dismissed.

                               FOURTH CAUSE OF ACTION
              Discrimination on the Basis of Disability in Violation of the DCHRA

       129.     Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       130.     No response is required as the “Fourth Cause of Action” has been dismissed.

       131.     No response is required as the “Fourth Cause of Action” has been dismissed.

       132.     No response is required as the “Fourth Cause of Action” has been dismissed.

       133.     No response is required as the “Fourth Cause of Action” has been dismissed.

       134.     No response is required as the “Fourth Cause of Action” has been dismissed.

       135.     No response is required as the “Fourth Cause of Action” has been dismissed.

       136.     No response is required as the “Fourth Cause of Action” has been dismissed.

       137.     No response is required as the “Fourth Cause of Action” has been dismissed.

       138.     No response is required as the “Fourth Cause of Action” has been dismissed.

                                FIFTH CAUSE OF ACTION
                    Hostile Work Environment in Violation of the DCHRA

       139.     Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       140.     Defendant denies any allegation inconsistent with the D.C. Code section (2-

1402.11(a)) referenced in paragraph 140 of the Amended Complaint and refers to the true and

accurate copy of D.C. Code § 2-1402.11(a).




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       141.    Defendant denies any allegation inconsistent with the D.C. Code section (2-

1402.11(a)) referenced in paragraph 141 of the Amended Complaint and refers to the true and

accurate copy of that D.C. Code § 2-1402.11(a).

       142.    Defendant admits the allegations in paragraph 142 of the Amended Complaint.

       143.    The first sentence of Paragraph 143 of the Amended Complaint states a legal

conclusion to which no response is required. To the extent a response is required, Defendant denies

all allegations in Paragraph 143 of the Amended Complaint.

       144.    Defendant denies the allegations in Paragraph 144 of the Amended Complaint.

       145.    Paragraph 145 of the Amended Complaint states a legal conclusion to which no

response is required. To the extent a response is required, Defendant denies the allegations in

Paragraph 145 of the Amended Complaint.

       146.    Defendant denies the allegations in Paragraph 146 of the Amended Complaint.

       147.    Defendant denies the allegations in Paragraph 147 of the Amended Complaint.

       148.    Paragraph 148 of the Amended Complaint does not contain factual allegations

capable of a response. To the extent a response is required, Defendant denies all allegations of

engaging in illegal, unlawful, or prohibited conduct.

                                 SIXTH CAUSE OF ACTION
                             Retaliation in Violation of the DCHRA

       149.    Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       150.    Defendant denies any allegation that is inconsistent with the D.C. Code section (§

2-1402.61(a)) referenced in paragraph 150 of the Amended Complaint and refers to the true and

accurate copy of D.C. Code § 2-1402.61(a).




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       151.    Defendant denies any allegation inconsistent with the D.C. Code section (§ 2-

1402.61(a)) referenced in paragraph 151 of the Amended Complaint and refers to the true and

accurate copy of D.C. Code § 2-1402.61(a).

       152.    Defendant lacks knowledge or information sufficient to believe in the truth of the

allegations in Paragraph 152 of the Amended Complaint. To the extent a response is required,

Defendant denies all allegations that it engaged in illegal, unlawful, or prohibited conduct.

       153.    Defendant denies any allegation that is inconsistent with the document or

documents referenced in Paragraph 153 of the Amended Complaint and refers to the true and

accurate copy of said document or documents. Defendant denies all allegations that it engaged in

illegal, unlawful, or prohibited conduct.

       154.    Paragraph 154 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. To the extent a response is required,

Defendant denies the allegations in Paragraph 154 of the Amended Complaint.

       155.    Defendant denies the allegations in Paragraph 155 of the Amended Complaint.

       156.    Defendant denies the allegations in Paragraph 156 of the Amended Complaint.

       157.    Paragraph 157 of the Amended Complaint does not contain factual allegations

relating to this Defendant to which a response is required. To the extent a response is required,

Defendant denies the allegations in Paragraph 157.

       158.    Defendant denies the allegations in Paragraph 158 of the Amended Complaint.

       159.    Defendant denies the allegations in Paragraph 159 of the Amended Complaint.

       160.    Defendant denies the allegations in Paragraph 160 of the Amended Complaint.

       161.    Defendant denies the allegations in Paragraph 161 of the Amended Complaint.

       162.    Defendant denies the allegations in Paragraph 162 of the Amended Complaint.




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       163.    Paragraph 163 of the Amended Complaint does not contain factual allegations

capable of a response. To the extent a response is required, Defendant denies all allegations of

engaging in illegal, unlawful, or prohibited conduct.

                               SEVENTH CAUSE OF ACTION
                          Intentional Infliction of Emotional Distress

       164.    Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       165.    No response is required as the “Seventh Cause of Action” has been dismissed.

       166.    No response is required as the “Seventh Cause of Action” has been dismissed.

       167.    No response is required as the “Seventh Cause of Action” has been dismissed.

       168.    No response is required as the “Seventh Cause of Action” has been dismissed.

       169.    No response is required as the “Seventh Cause of Action” has been dismissed.

       170.    No response is required as the “Seventh Cause of Action” has been dismissed.

       WHEREFORE, Defendant Secure Democracy requests that the Court dismiss the

Amended Complaint with prejudice, award judgment in its favor, award its attorneys’ fees and

costs associated with the defense of this matter, and award all other just and proper relief.

                                      GENERAL DENIAL

       Defendant denies every allegation not expressly admitted to herein.

                                  AFFIRMATIVE DEFENSES

       Defendant asserts the following separate defenses, without assuming the burden of proof

on any defense except as required by applicable law.

                                 FIRST SEPARATE DEFENSE

       The Complaint fails to state a claim upon which relief may be granted.




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                               SECOND SEPARATE DEFENSE

       Plaintiff’s claims or damages are barred in whole or in part by the doctrine of waiver,

estoppel, laches, unclean hands, and/or other related equitable doctrines.

                                THIRD SEPARATE DEFENSE

       Plaintiff’s claims are barred in whole or in part by the applicable statute(s) of limitations

and/or other limitations period(s).

                               FOURTH SEPARATE DEFENSE

       Plaintiff’s claims are barred in whole or in part by D.C. Code § 29-412.06.

                                 FIFTH SEPARATE DEFENSE

       Plaintiff’s claims are barred in whole or in part to the extent she has failed to exhaust

administrative remedies or has chosen to elect her remedies in another forum.

                                 SIXTH SEPARATE DEFENSE

       Under the facts pled, Plaintiff is not entitled to any relief as a matter of law.

                              SEVENTH SEPARATE DEFENSE

       Plaintiff was not terminated from her employment with Defendant; thus, Defendant cannot

be liable under the DCHRA for having taken any adverse action.

                               EIGHTH SEPARATE DEFENSE

       Plaintiff’s claims are barred because all actions taken against her by Defendant, were based

on legitimate, non-discriminatory, and non-retaliatory reasons.




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                                NINTH SEPARATE DEFENSE

       Any alleged acts or omissions on the part of Defendant with respect to the terms,

conditions, or privileges of Plaintiff’s employment were taken in good faith, and Defendant had

reasonable grounds for believing that any such act or omission was not violating the DCHRA.

                                TENTH SEPARATE DEFENSE

       Defendant has established, implemented, and complied with policies, programs, and

procedures for preventing and detecting unlawful retaliatory and discriminatory practices.

                             ELEVENTH SEPARATE DEFENSE

       Plaintiff’s claims are barred, in whole or in part, by the Plaintiff’s own contribution to any

alleged harm.

                              TWELFTH SEPARATE DEFENSE

       None of the Defendants are the alter ego of any other entity alleged in the Complaint.

                            THIRTEENTH SEPARATE DEFENSE

       None of the Defendants are the legal predecessors of any other entity alleged in the

Complaint.

                           FOURTEENTH SEPARATE DEFENSE

       Plaintiff’s claims for compensatory, special, interest, and punitive damages, as well as

attorneys’ fees and costs, are barred by the applicable laws under which Plaintiff brings her claims.

                             FIFTEENTH SEPARATE DEFENSE

       The Amended Complaint fails to state facts sufficient to state a claim that would support

an award of compensatory, special, punitive damages, and/or other requested damages.




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                               SIXTEENTH SEPARATE DEFENSE

          Defendant cannot be held liable for any compensatory damages because Plaintiff did not

suffer any emotional distress due to any of Defendant’s actions.

                             SEVENTEENTH SEPARATE DEFENSE

          Plaintiff’s claim for punitive damages violates Defendants’ rights under the Fourth, Fifth,

Eighth, and Fourteenth Amendments to the United States Constitution.

                             EIGHTEENTH SEPARATE DEFENSE

          Plaintiff is not entitled to punitive damages as Defendant’s actions or inactions toward

Plaintiff, if any, were not committed with malice and/or reckless indifference or disregard of any

rights of Plaintiff, and Defendant pleads all defenses made available by the Supreme Court’s

decision in Kolstad v. American Dental Association.

                                 NINETEENTH SEPARATE DEFENSE

          Plaintiff has failed to mitigate her alleged damages, the entitlement to which is expressly

denied.

                                  TWENTIETH SEPARATE DEFENSE

          Plaintiff’s claims and/or damages are barred or mitigated by the after-acquired evidence

doctrine.

                                   RESERVATION OF RIGHTS

          In addition to the foregoing defenses, Defendant reserves the right to assert any and all

additional legal and/or equitable defenses that may become apparent during the course of discovery

and/or trial.




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       WHEREFORE, Defendant Secure Democracy requests that the Court dismiss the

Amended Complaint with prejudice, award judgment in its favor, award its attorneys’ fees and

costs associated with the defense of this matter, and award all other just and proper relief.

DATED: April 11, 2024                                 Respectfully submitted,


                                                      /s/ Amy Epstein Gluck
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                                                      Counsel for Defendant Secure Democracy




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                                 CERTIFICATE OF SERVICE
          I hereby certify that the foregoing was submitted by ECF and served to all counsel of

record.




                                                           /s/ Amy Epstein Gluck
                                                           Amy Epstein Gluck




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